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                                UNITED STATES DISTRICT COURT DISTRICT OF ARIZONA


                                                    Civil Cover Sheet

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United
States in September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil
docket sheet. The information contained herein neither replaces nor supplements the filing and service of pleadings or
other papers as required by law. This form is authorized for use only in the District of Arizona.

The completed cover sheet must be printed directly to PDF and filed as an attachment to the Complaint or Notice
                                                 of Removal.


                 Aaron Cross , ; Arizona Conference of                        Chris Nanos, Sheriff; Juan Carlos
 Plaintiff(s):                                                Defendant(s):
                 Police and Sheriffs , ;                                      Navarro , Captain;

County of Residence: Pima                                     County of Residence: Pima

County Where Claim For Relief Arose: Pima

Plaintiff's Atty(s):                                          Defendant's Atty(s):
Steven J Serbalik ,                                           ,
Steven J Serbalik PLC
4925 E. Desert Cove Ave #116
Scottsdale, AZ 85254                                          ,
480-269-1529



IFP REQUESTED


REMOVAL FROM COUNTY, CASE #

II. Basis of Jurisdiction:                                              3. Federal Question (U.S. not a party)

III. Citizenship of Principal Parties(Diversity Cases Only)
                                                                        1 Citizen of This State
Plaintiff:-

                                                                        1 Citizen of This State
Defendant:-

IV. Origin :                                                            1. Original Proceeding
V. Nature of Suit:                                                      440 Other Civil Rights

VI.Cause of Action:                                                     42 USC 1983

VII. Requested in Complaint
                                                                        No
Class Action:


Dollar Demand:

                                                                        Yes
Jury Demand:

VIII. This case is not related to another case.
                   Case 4:24-cv-00506-RCC Document 1-1 Filed 10/17/24 Page 2 of 2
Signature: /s/ Steven J Serbalik

     Date: 10/17/2024

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your
browser and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening
documents.

Revised: 01/2014
